                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


THERESA DUTCHUK, ANNALISA               )
HEPPNER, LIZ ORTIZ, RANNA WELLS,        )
NORMA JOHNSON, and JANE DOE VI,         )
                                        )
                            Plaintiffs, )
                                        )
      vs.                               )
                                        )
DAVID YESNER, UNIVERSITY OF             )
ALASKA BOARD OF REGENTS, and            )
UNIVERSITY OF ALASKA SYSTEM,            )
                                        )                  No. 3:19-cv-0136-HRH
                          Defendants.   )
_______________________________________)

                       SCHEDULING AND PLANNING ORDER

      I.       Meeting of the Parties.

      Based upon information available to the court through a scheduling and planning
conference report1 completed by the parties pursuant to Rules 16 and 26(f) of the Federal

Rules of Civil Procedure, and to Local Civil Rules 16.1 and 26.1(b), and, if one was held,

the scheduling and planning conference, this order for the pretrial development of the

case is entered pursuant to Rule 16(b), Federal Rules of Civil Procedure.

      This order may be modified only for good cause shown and with the consent
of the court. Rule 16(b)(4), Federal Rules of Civil Procedure.

      Unless otherwise ordered, conferences, hearings, and trials are subject to the
provisions of the court's restoration of operations plan posted on the court’s public

website:     http://www.akd.uscourts.gov .


      1
       Docket No. 84.

SCHEDULING AND PLANNING ORDER                                                            -1-


           Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 1 of 9
       II.    Discovery Plan.

       Discovery shall be conducted in accordance with Rules 26 through 37 of the
Federal Rules of Civil Procedure, any applicable Local Civil Rules, and the discovery
plan specified in the parties’ scheduling and planning report, except as otherwise
provided below.

       A.     Timing, Form, and Disclosure Requirements. The requirements of
              Rule 26(f)(3)(A) shall apply to this case. No changes have been
              requested by the parties. Each party must contemporaneously
              prepare and maintain a written record of all disclosures and

              supplementation of disclosures or responses made to requests for

              discovery under Rule 26(a) and (e), Federal Rules of Civil
              Procedure. Unless required in support of a motion or by order of the

              court, disclosures and supplemental disclosures are not to be filed
              with the court.

       B.     Initial Disclosures / Preliminary Witness Lists.
              1.     The information required by Rule 26(a)(1), Federal Rules of

                     Civil Procedure:

                     (a)    ___     has been exchanged by the parties.

                     (b)        ✓   shall be exchanged by the parties on or before

                                    14 days after all defendants have answered

                                    plaintiffs’ current complaint.

              2.     Preliminary witness lists:
                     (a)    ___     have been exchanged by the parties.



SCHEDULING AND PLANNING ORDER                                                           -2-


         Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 2 of 9
               (b)     ✓     shall be exchanged by the parties on or before

                             14 days after all defendants have answered

                             plaintiffs’ current complaint.

         3.    With reference to the disclosure requirements of Rule 7.1,
               Federal Rules of Civil Procedure:
               (a)    ___    The parties are in compliance.
               (b)    ___    Compliance shall be accomplished on or before
                             ________.

               (c)     ✓     Rule 7.1 is not applicable.

    C.   Subjects and Timing of Discovery.

         1.    The parties ✓ have / ___ have not reported the subjects on

               which discovery may be needed. If not, please supply a list of

               discovery subjects within 7 days.

         2.    Discovery shall not be conducted in phases or limited to or

               focused on particular issues.

         3.    The parties have not shown cause for a discovery close date

               beyond 12 months from their report.

         4.    Final Discovery Witness List. A final discovery witness list,
               disclosing all lay witnesses whom a party may wish to call at

               trial either by live testimony or deposition, shall be served and

               filed not later than 45 days before the close of fact discovery.

               Each party shall make a good faith attempt to list only those

               lay witnesses who the party reasonably believes will testify at
               trial. Unless otherwise ordered for good cause shown, only

SCHEDULING AND PLANNING ORDER                                                      -3-


     Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 3 of 9
               those lay witnesses disclosed in this final discovery witness
               list, and the expert witnesses who were timely identified, will

               be permitted to testify at trial.
         5.    Close of Fact Discovery. Fact discovery shall be completed

               on or before April 3, 2021.

         6.    Expert Discovery. Pursuant to Rule 26(a)(2), Federal Rules
               of Civil Procedure:
               (a)    Expert witnesses shall be identified by each party on or

                      before December 13, 2020, and each party may

                      identify responsive supplemental expert witnesses

                      within 14 days thereafter.

               (b)    Expert disclosures (reports) required by Rule 26(a)(2)

                      shall be disclosed:

                      (i)     By all parties on or before March 15, 2021;

                      (ii)    Rebuttal reports on or before 30 days from

                              service of the report being rebutted.

               (c)    Expert witness discovery (including depositions) shall

                      be completed by June 3, 2021.

    D.   Preservation of Discovery, Including Electronically Stored

         Information (ESI).
         1.    No issues have been reported as regards disclosure, discovery,
               or preservation of ESI, including the form or format in which

               it should be produced.



SCHEDULING AND PLANNING ORDER                                                    -4-


     Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 4 of 9
               2.     The parties shall proceed as they have proposed with respect
                      to the production of ESI.

               3.     Preservation of non-ESI Discovery:

                      (a)      ✓     There is no indication that this will be an issue.

                      (b)     ___    The parties may proceed as they have proposed.

       E.      Claims of Privilege or Protection of Attorney Work Product. Claims
               of privilege or protection of trial preparation materials shall be
               handled as follows:

               1.      ✓      There is no indication that this will be an issue.

               2.     ___     The parties have entered into a confidentiality

                              agreement.
               3.     ___     The parties shall submit their proposed confidentiality

                              agreement on or before ______.

       F.      Limitations on Discovery. The following limitations on discovery
               are imposed:

               1.      ✓      The limitations set forth in Federal Rules of Civil

                              Procedure 26(b), 30, and 33 and in Local Civil Rules
                              30.1 and 36.1 apply, except as indicated below.

               2.      ✓      The maximum number of depositions by each party

                              shall not exceed: subject to agreement of the

                              parties.2



       2
       Unless otherwise specified, the court will consider corporate officer, Rule
30(b)(6) witness, and expert witness depositions to be subject to the time limitation
applicable to party depositions.

SCHEDULING AND PLANNING ORDER                                                             -5-


           Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 5 of 9
                  (a)      ✓     Depositions shall not exceed 6 hours as to any

                                 deponent.
                  (b)    ___     Depositions shall not exceed ______ hours as to
                                 non-party      deponents.
                  (c)    ___     Depositions shall not exceed ___ hours as to

                                 party deponents.
           3.     ___    The maximum number of interrogatories posed by each
                         party shall not exceed ___.
           4.     ___    The maximum number of requests for admissions

                         posed by each party shall not exceed ___.

           5.     ___    Other limitations: _________.
    G.     Supplementation of Disclosures and Discovery Responses shall be

           supplemented:

           1.      ✓     In accordance with Rule 26(e)(1) and (e)(2), Federal

                         Rules of Civil Procedure

           2.     ___    At intervals of ______ days.

    III.   Pretrial Motions.

    A.     Preliminary motions as to jurisdiction, venue, arbitration, and/or
           statutes of limitation shall be served and filed not later than:

           1.     ___    Not applicable.

           2.      ✓     Motions are pending.

    B.     Motions to amend, motions under the discovery rules, motions in

           limine, and dispositive motions shall be served and filed within the
           times specified by the applicable rules, except as indicated below:

SCHEDULING AND PLANNING ORDER                                                      -6-


      Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 6 of 9
         1.     ✓   Motions to amend pleadings, including motions to add

                    parties, shall be served and filed not later than

                    September 1, 2020. Thereafter, a party must seek

                    leave of court to modify this deadline. See
                    Rule 16(b)(3)(A) and (b)(4), Federal Rules of Civil
                    Procedure.

         2.     ✓   Discovery disputes (including ESI) shall be presented

                    to the court as soon as discovery problems are

                    identified, but not later than 14 days after the close of

                    discovery. If the meet-and-confer process (see Rule
                    37(a)(1)) fails to resolve disagreements regarding

                    mandatory initial discovery or discovery requests, the

                    parties shall present that dispute to the court in a

                    single, joint motion, stating the issue, any applicable
                    rules, and each party’s proposed disposition of the

                    dispute. The joint motion must contain the Rule

                    37(a)(1) certification. The court may resolve the
                    dispute based upon the parties’ presentations or after a
                    conference call. At a conference, the court may

                    authorize the filing of a discovery motion.

         3.     ✓   Dispositive motions shall be served and filed not later

                    than July 3, 2021.

         4.     ✓   Motions in limine, including motions as to qualifica-

                    tion of experts and Daubert motions, shall be served

SCHEDULING AND PLANNING ORDER                                                   -7-


     Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 7 of 9
                         and filed not later than 30 days following the later of

                         the date for the filing of dispositive motions or the date
                         of the court’s ruling on timely dispositive motions.

    IV.   Trial.

    A.    The court expects the case to take 14 days for trial.

    B.    A jury trial ✓ has / ____ has not been demanded.

    C.    The right to jury trial ____ is / ✓ is not disputed.

    D.    Scheduling Trial.
          1.       ___   The parties’ request for an early trial date:

                   (a)   ___    Is approved.
                   (b)   ___    Is not approved.

          If approved, a separate trial scheduling order will be issued.

          2.       ___   Either party may request a trial setting conference at
                         any time to establish a trial date. Absent a request, and

                         when timely filed dispositive motions have been ruled

                         upon, the court will call upon the parties to certify the

                         case ready for trial and to provide the court with
                         proposed trial dates. The court will issue an order
                         governing final preparation for trial and scheduling a

                         final pretrial conference after the case has been
                         certified ready for trial.

          3.        ✓    The parties ____ have / ✓ have not requested an

                         early trial date.



SCHEDULING AND PLANNING ORDER                                                         -8-


     Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 8 of 9
    V.    Other Provisions.

    A.    Court Conference. The parties have not requested a conference with
          the court before entry of a scheduling order.
    B.    Consent to Proceed before a Magistrate Judge. The parties have not
          consented to trial before a Magistrate Judge.

    C.    Early Settlement / Alternative Dispute Resolution. The parties have
          considered and reported to the court regarding possible alternative
          dispute resolution procedures.
    D.    Related Cases. The parties have reported to the court regarding any

          related cases as defined by Local Civil Rule 16.1(e).

    DATED at Anchorage, Alaska, this 11th day of June, 2020.



                                             /s/ H. Russel Holland
                                             United States District Judge




SCHEDULING AND PLANNING ORDER                                                   -9-


     Case 3:19-cv-00136-HRH Document 85 Filed 06/11/20 Page 9 of 9
